UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                     :
RA’ED MOHAMAD IBRAHIM MATAR, :                             05 Civ. 10270 (WHP)
et al.,                                              :
                  Plaintiffs,                        :
                                                     :     NOTICE OF INTENT TO RAISE
                  -against-                          :     ISSUE OF FOREIGN LAW
                                                     :     UNDER FEDERAL RULE OF
                                                     :     CIVIL PROCEDURE 44.1
AVRAHAM DICHTER,                                     :
                                                     :
                  Defendant.                         :
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        Pursuant to Federal Rule of Civil Procedure 44.1, Plaintiffs HEREBY GIVE

NOTICE of their intent to raise issues of Israeli law, including whether Defendant,

Avraham Dichter, was acting within the scope of his lawful authority during his

participation in the events giving rise to this lawsuit.



Dated: April 26, 2006                                      Respectfully submitted,


                                                           _______/ s / Maria LaHood_______
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